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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                  :
ADAM SMITH,                                       :
                                                  : Case No. 3:18-cv-00071-JAM
               Plaintiff,                         :
                                                  :
v.                                                :
                                                  :
JENSEN FABRICATING ENGINEERS,                     :
INCORPORATED.                                     :
                                                  : FEBRUARY 6, 2018
               Defendant.


               DEFENDANT’S RESPONSE TO ORDER TO SHOW CAUSE
                         AND CONSENT TO REMAND

       Defendant Jensen Fabricating Engineers, Incorporated (“Jensen”) respectfully submits

the following response to the Court’s Order to Show Cause (Doc. 7).

       On January 12, 2018 Defendant removed this matter to the United States District Court

for the District of Connecticut pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446. In good

faith belief, Defendant asserted that this Court has original federal question jurisdiction under 28

U.S.C. §1367(a) because the action raises substantial federal questions and claims under federal

law. Defendant maintains that Plaintiff’s claim for relief pursuant to the Connecticut Palliative

Use of Marijuana Act, Conn. Gen. Stat. §§ 21a-408 et seq. (“PUMA”) raised a substantial federal

question in that the conduct upon which plaintiff seeks relief is preempted pursuant to federal

law; namely, that Plaintiff’s use of an illegal drug, marijuana (a Schedule I controlled substance),

cannot form a basis of relief. Moreover, Defendant maintains that Plaintiff’s action generally

alleges that he was denied an employment opportunity as a result of his treatment for a mental

disability and, as plead, is truly a disability discrimination claim. Additionally, the purported

state law claim is premised on a statute which provides no express private right of action. See


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§21a-408p(b)(3). Thus, Plaintiff’s claim is completely preempted by the federal Americans with

Disabilities Act (“ADA”) because, according to the complete preemption doctrine, “a plaintiff’s

state cause of action may be recast as a federal claim for relief” and removal by the Defendant

based on this doctrine is a proper basis for federal question jurisdiction. See Wurtz v. Rawlings

Co., LLC, 761 F.3d 232, 238-39 (2d Cir. 2014).

       Regardless, after further consideration and with the consent of Plaintiff’s counsel,

Defendant consents to remanding this matter back to the Superior Court of the State of

Connecticut, Judicial District of Hartford at Hartford.

       Respectfully submitted this 6th day of February, 2018.

                                                DEFENDANT,
                                                JENSEN FABRICATING ENGINEERS


                                                By: /s/Thomas C. Blatchley
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                                       CERTIFICATION

        I hereby certify that on this 6th day of February, 2018, a copy of the foregoing Notice of
Service was filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by email to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filings. Parties may access this filing through the Court’s CM/ECF System.



                                                     /s/ Shannon M. Walsh________
                                                     Shannon M. Walsh




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